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                                           18943
                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 FJN/RMP/LAB/AA/RU                                    271 Cadman Plaza East
 F. #2009R01065/OCDETF#NY-NYE-616                     Brooklyn, New York 11201



                                                      June 11, 2025

 By ECF and E-Mail

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Ismael Zambada Garcia
                        Criminal Docket No. 09-466 (BMC) (S-5)


 Dear Judge Cogan:

                  The government respectfully writes on behalf of the parties to request that the
 status conference currently scheduled for June 16, 2025 be adjourned for approximately 60 days
 or until a date convenient for the Court thereafter, and that time until such date be excluded from
 calculations under the Speedy Trial Act in the interests of justice. As the Court is aware, the
 parties have exchanged certain discovery materials and discussed the potential for a resolution
 short of trial, which has occurred during the pendency of the capital case process and the
 government’s assessment of the likelihood and scope of proceedings pursuant to the Classified
 Information Procedures Act (“CIPA”). The government has determined that CIPA proceedings
 are likely although its determination of the scope of such proceedings remains ongoing, and the
 parties still await the conclusion of the capital case determination. In light of all of those
 considerations, the parties jointly request that the conference be adjourned for approximately 60
 days or to a convenient date thereafter. Additionally, the parties jointly ask that time be
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 excluded for the above reasons and respectfully submit that the interests of justice served by the
 adjournment and exclusion of time outweigh the interests of the public and the defendant in a
 speedy trial.

                                                      Respectfully submitted,

                                                      JOSEPH NOCELLA, JR.
                                                      United States Attorney

                                               By:     /s/ Robert M. Pollack
                                                      Francisco J. Navarro
                                                      Robert M. Pollack
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                                               By:    /s/ Melanie Alsworth
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                                               By:    /s/ Monique Botero
                                                      Monique Botero
                                                      Andrea Goldbarg
                                                      Assistant United States Attorneys




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